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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


    JUDITH GODINEZ, Individually and on
    Behalf of All Others Similarly Situated,                Civil Action No. 1:16-cv-10766 (PBS)

                               Plaintiffs,

                        v.

    ALERE INC., et. al.,
                               Defendants.



                   LEAD PLAINTIFFS’ UNOPPOSED MOTION FOR
      (I) PRELIMINARY APPROVAL OF SETTLEMENT; (II) CERTIFICATION OF
           SETTLEMENT CLASS FOR SETTLEMENT PURPOSES ONLY; AND
               (III) APPROVAL OF NOTICE TO SETTLEMENT CLASS

         Lead Plaintiffs Glazer Funds (“Glazer”) and OFI Asset Management (“OFI”)

(collectively, “Lead Plaintiffs”), hereby move this Court, pursuant to Federal Rule of Civil

Procedure 23, for entry of an order:

         (i)     preliminarily approving the proposed Settlement;

         (ii)    certifying the proposed Settlement Class for settlement purposes only;1

         (iii)   approving the form, content and manner of giving notice of the proposed
                 Settlement to Settlement Class Members; and

         (iv)    scheduling a hearing to consider final approval of the Settlement, approval of the
                 Plan of Allocation, and the motion by Lead Counsel for an award of attorneys’
                 fees and reimbursement of Litigation Expenses.



1
  The Settlement Class consists of “all persons and entities who purchased or otherwise acquired the
publicly-traded common stock of Alere Inc. during the period from May 9, 2013 through October 3, 2017,
inclusive (the “Class Period”). Excluded from the Settlement Class are Defendants, the Officers and
directors of Alere at all relevant times, their Immediate Family Members and their legal representatives,
heirs, successors or assigns, corporate parents and/or affiliates and any entity in which any of the above
have or had a controlling interest, and any person or entity who or which submits a request for exclusion
to the Claims Administrator by the opt-out deadline that satisfies the requirements set forth in the Notice
and that is accepted by the Court.” Stipulation ¶ 1(pp).
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       This Motion is based upon the Stipulation and Agreement of Settlement dated January

31, 2019, filed this day (ECF No. 256); the accompanying Memorandum of Law; and all other

papers and proceedings herein. The Parties’ agreed-upon form of proposed Preliminary Approval

Order, with exhibits thereto, is attached as Exhibit A to this Motion. This Motion is unopposed

by Defendants.


Dated: February 1, 2019                       Respectfully submitted,

                                              /s/ Adam M. Stewart
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                                  Plaintiffs’ Co-Lead Counsel
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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

        I, Brendan J. Brodeur, hereby certify pursuant to Local Rule 7.1(a)(2) that Plaintiffs’
counsel have met and conferred with counsel for Defendants, by email and in a telephonic
conference on January 31, 2019, and that counsel for Defendants do not oppose the relief sought
herein.

Dated: February 1, 2019
New York, New York

                                                      /s/ Brendan J. Brodeur
                                                      Brendan J. Brodeur

                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”)

on this February 1, 2019.


                                                      /s/ Adam M. Stewart
                                                      Adam M. Stewart
